    Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 1 of 42




                       PUBLIC VERSION

   UNITED STATES COURT OF INTERNATIONAL TRADE

   BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

                                   )
ADISSEO ESPANA S.A. AND            )
ADISSEO USA INC.                   )
              Plaintiffs,          )              Court No. 21-00562
         v.                        )
                                   )              Business Proprietary
UNITED STATES,                     )              Information Removed
                                   )              from Pages 6, 9-12, 24,
              Defendant,           )              30, 32, 33, and 35
        and                        )
                                   )
NOVUS INTERNATIONAL INC.,          )
                                   )
             Defendant-Intervenor. )
                                   )

  PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF RULE 56.2
   MOTION FOR JUDGMENT ON THE AGENCY RECORD
            Case 1:21-cv-00562-MMB Document 40                    Filed 08/12/22        Page 2 of 42




                                          Table of Contents

                                                                                                        Page



I.     INTRODUCTION ................................................................................ 1
II.      ARGUMENT ..................................................................................... 2
     A. The Commission’s Determination that Subject Imports Adversely
     Affected the Price for the Domestic Like Product Was Not in
     Accordance with Law and Was Not Supported by Substantial
     Evidence ................................................................................................. 2
       1. The Commission Failed to Consider Non-Price Factors in its
       Price Effects Determination................................................................ 2
       2. The Commission’s Finding that Subject Imports Caused Price
       Depression Through Allegedly Below-Market Bids Is Nonsensical
       and Unsupported by Record Evidence ................................................ 6
       3. The Commission’s Decision to Elevate Anecdotal Data Over
       Actual, Verified Pricing Information for Purposes of Making Its
       Price Effects Determination Remains Unjustified and
       Unexplained ...................................................................................... 13
       4.      The Commission Failed to Make a Finding of Underselling .... 25
     B. The Commission’s Determination that Subject Imports Adversely
     Impacted the Condition of the Domestic Industry Was Not in
     Accordance with Law and Was Not Supported by Substantial
     Evidence ............................................................................................... 29
       1. The Commission Failed to Consider the Importance of Supplier
       Diversity in Assessing the Impact of Subject Imports on the
       Domestic Industry ............................................................................. 30
       2. The Commission Failed to Consider the Limited
       Substitutability Between Different Chemical Compositions of
       Methionine in Assessing the Impact of Subject Imports on the
       Domestic Industry ............................................................................. 33


                                                         i
        Case 1:21-cv-00562-MMB Document 40                  Filed 08/12/22      Page 3 of 42




                                   Table of Authorities

                                                                                              Pages
Cases

Acciai Speciali Terni, S.p.A. v. United States, 19 C.I.T. 1051 (1995) ...... 4

AK Steel Corp. v. United States, 36 C.I.T. 1466 (2012) ......................... 15

Altx, Inc. v. United States, 25 C.I.T. 1100 (2001)............................... 1, 28

Altx, Inc. v. United States, 370 F.3d 1108 (Fed. Cir. 2004) ................... 27

Asociacion Colombiana de Exportadores de Flores v. United States,
 12 C.I.T. 1174 (1988) ........................................................................... 24

Asociacion Colombiana de Exportadores de Flores v. United States,
 26 F.3d 139 (Fed. Cir. 1994) ................................................................. 24

Burlington Truck Lines, Inc. v. United States, 371 U.S. 156 (1962) ..... 22

Camau Frozen Seafood Processing Imp. Exp. Corp. v. United States,
 37 C.I.T. 1116 (2013) ............................................................................ 13

Celanese Chems. Ltd. v. United States, 31 C.I.T. 279 (2007) ................ 18

China Nat'l Arts & Crafts Imp. & Exp. Corp. v. United States,
 15 C.I.T. 417 (1991) ................................................................................ 7

China Nat'l Mach. Imp. & Exp. Corp. v. United States,
 27 C.I.T. 255 (2003) ................................................................................ 7

Comm. for Fair Beam Imps. v. United States, 27 C.I.T. 932 (2003) ...... 18

Consol. Edison Co. v. NLRB, 305 U.S. 197 (1938).................................. 12

Hitachi Metals v. United States, 949 F.3d 710 (Fed. Circ. 2020) .......... 14

Iwatsu Elec. Co., Ltd. v. United States, 15 C.I.T. 44 (1991) .................. 19


                                                   ii
        Case 1:21-cv-00562-MMB Document 40                    Filed 08/12/22      Page 4 of 42




Lone Star Steel Co. v. United States, 10 C.I.T. 731 (1986) .................... 18

Motor Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) .......................................................................... 22, 25

New Am. Keg v. United States, No. 20-00008, 2021 Ct. Intl. Trade
 LEXIS 34 (2021) ............................................................................. 12, 25

Nippon Steel Corp. v. United States, 25 C.I.T. 1415 (2001) .................... 5

Nucor Corp. v. United States, 414 F.3d 1331 (Fed. Cir. 2005) ........ 26, 27

Rhone Poulenc S.A. v. United States, 8 C.I.T. 47 (1984) ....................... 28

SSIH Equipment SA v. United States ITC, 718 F.2d 365
 (Fed. Cir. 1983) ....................................................................................... 8

U.H.F.C. Co. v. United States, 916 F.2d 689 (Fed. Cir. 1990) ............... 10

USX Corp. v. United States, 11 C.I.T. 82 (1987) ...................................... 9

Statutes

19 U.S.C. § 1677(7)(B)(i).......................................................................... 29

19 U.S.C. § 1677(7)(C)(i).......................................................................... 29

Administrative Determinations

Certain Steel Nails from China, Inv. No. 731-TA-1114 (Final),
 USITC Pub. 4022 (July 2008) .............................................................. 17

Forged Steel Fittings from India and Korea, Inv. Nos. 701-TA-631 and
 731-TA-1463-1464 (Final), USITC Pub. 5137 (Nov. 2020) .................. 17

Metal Lockers from China, Inv. Nos. 701-TA-656 and 731-TA-1533
 (Final), USITC Pub. 5218 (Aug. 2021) ................................................. 17

Strontium Chromate from Austria and France, Inv. Nos. 731-TA-1422
  and 731-TA-1423 (Final), USITC Pub. 4992 (Nov. 2019) .................... 17




                                                    iii
    Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 5 of 42




                             Glossary
          Abbreviation                               Term
                                      Adisseo Espana S.A. and Adisseo
Adisseo
                                      USA Inc. (Plaintiffs)
                                      Defendant’s Response Brief (ECF
DfBr.
                                      33)
DLM                                   DL-Methionine
Evonik                                Evonik Corporation
                                      Methionine from Spain and
Final Determination                   Japan, 86 Fed Reg. 50743 (Sept.
                                      10, 2021)
                                      United States International Trade
ITC/Commission
                                      Commission (Defendant)
LTFV                                  Less than Fair Value
MHA                                   Methionine Hydroxy Analog
                                      Novus International, Inc.
Novus
                                      (Petitioner)
PlBr.                                 Plaintiff’s Case Brief (ECF 30)
POI                                   Period of Investigation
Tr.                                   Transcript
                                      Methionine from France, Inv. No.
Views                                 731-TA-1534 (Final), USITC Pub.
                                      5206 (June 2021).




                                 iv
       Case 1:21-cv-00562-MMB Document 40         Filed 08/12/22   Page 6 of 42




I.    INTRODUCTION

      The crux of this case is the Commission’s failure to live up to its

obligation to reach a determination that is logical and based on the

entirety of the record evidence. Specifically, the Commission’s Final

Determination suffers from two pervasive issues: its failure to deal with

contrary record evidence and arguments, and its failure to adequately

explain its choices. Plaintiffs thoroughly documented these errors in its

Case Brief, yet in its Rebuttal Brief the Commission failed to address

them in any meaningful way. While some of these failures are more or

less glaring than others, cumulatively they fatally undermine the

Commission’s determination as a whole.1

      Had the Commission upheld its responsibility to consider all the

record evidence and undertaken a logical and coherent analysis of that

evidence, it necessarily would have reached the opposite conclusion.

Consequently, this Court should conclude that the Commission’s Final




1 See Altx, Inc. v. United States, 25 C.I.T. 1100, 1118 (2001) (“When considered
individually every discrepancy discussed here might not rise to the level of
requiring reconsideration of the overall disposition, but taken as a whole, the court
finds that the ITC decision is not substantially supported and explained.”).
                                          1
      Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 7 of 42




Determination was unsupported by substantial evidence and not in

accordance with law.

II.   ARGUMENT

      A.   The Commission’s Determination that Subject
           Imports Adversely Affected the Price for the Domestic
           Like Product Was Not in Accordance with Law and
           Was Not Supported by Substantial Evidence

           1.    The Commission Failed to Consider Non-Price Factors
                 in its Price Effects Determination

      As documented in Plaintiffs’ Case Brief, the Commission’s price

effects analysis significantly understates if not outright ignores the

importance of non-price factors in methionine purchasers’ decision-

making. PlBr.11-14. In its Rebuttal Brief, Defendant attempted to

rebut Plaintiffs’ arguments in two ways.

      First, Defendant overstates the degree to which the Commission

actually considered non-price factors in its analysis. See, e.g., DfBr.27

(“In this case, the Commission recognized that non-price factors were

important, but nevertheless found price to be an important factor as

well.”); Id. at 53 (stating that the Commission “recognized” the

importance of supplier diversity).




                                     2
      Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 8 of 42




     In reality, however, discussion of non-price factors in the

Commission’s Views was almost non-existent. The Commission

mentioned the importance of reliability/availability and diversity of

supply only once, in the “Conditions of Competition” section of its

Views. Views at Appx2101. However, this represents a mere recitation

of market conditions, not an evaluation of these non-price factors as

part of the Commission’s substantive price effects analysis. Defendant

also cites to footnote 185 of its Views as supporting the proposition that

the Commission “recognized” the importance of supplier diversity. Yet

this footnote does not discuss how the importance of supplier diversity

affected purchasing decisions. Views at Appx2117, n. 185. And as if to

prove this point further, Defendant’s Rebuttal Brief itself continues to

emphasize the “importance of price” in justifying the Final

Determination. See DfBr.35, 54, 56.

     Moreover, the implicit premise of the Commission’s entire pricing

analysis is that whichever producer offers the lower-priced bid will

necessarily win the sale. This assumption is reflected most clearly in

the Commission’s finding that, were it not for supposedly “low-priced



                                    3
      Case 1:21-cv-00562-MMB Document 40          Filed 08/12/22   Page 9 of 42




subject imports,”2 “{d}omestic producers could reasonably have expected

to gain market share” during the POI. Views at Appx02117. Such an

expectation would only be reasonable if non-price factors such as

availability and substitutability played no role in purchaser decision-

making.

      Second, Defendant contends in its Rebuttal Brief that “{n}one of

the evidence highlighted by Adisseo indicating that non-price factors

were important detracts from the Commission’s finding that price was

also an important factor.” DfBr.26. To support this assertion, the

Commission cites to Acciai Speciali Terni, S.p.A. v. United States, 19

C.I.T. 1051, 1059–60 (1995).

      The situation in the instant case, however, is distinguishable from

that in Acciai Speciali, since Plaintiffs do not argue (as the Plaintiff did

in that case) that the Commission was precluded from finding price

sensitivity simply because purchasers did not consistently rate price as

the most important factor. Indeed, the situation here is more akin to



2Plaintiffs note that the Commission, both in its Views (at Appx02116) and in its
Rebuttal Brief (at 37 & 39), references “low-priced subject imports.” As reflected by
the uncontested pricing data, subject imports were on balance higher priced than
the domestic like product throughout the POI.
                                          4
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 10 of 42




the one in Nippon Steel Corp. v. United States, 25 C.I.T. 1415 (2001).

In Nippon, “{i}n making its price sensitivity finding, rather than

evaluate purchasers’ assessments of non-price factors such as on-time

delivery or product quality, or whether these other factors actually

drove their decision to switch suppliers, the Commission simply noted

that other non-price factors were also considered ‘important.’” Id. at

1430. The Court disagreed, and held that

     if the Commission chooses to rely on price sensitivity to
     support its price effects determination, it must assess other
     aspects of the {relevant} industry that would tend to reduce if
     not entirely vitiate, the importance of price in purchaser
     decision-making….{I}t is insufficient merely to acknowledge
     that non-price factors are considered ‘very important’ without
     discussing the nature of these factors in the industry or
     relating them to its overall determination, as such factors may
     eclipse the importance of price in purchaser decision-making.

Id. at 1430-31 (emphasis added).

     In the instant case, the Commission did precisely what the Court

proscribed in Nippon – namely, it simply acknowledged that non-price

factors are important while failing to explain how non-price factors

affected its determination. The Commission’s failure to consider these

well-established non-price factors undermines its entire price effects

determination.

                                    5
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 11 of 42
                                                                 PUBLIC VERSION


           2.   The Commission’s Finding that Subject Imports
                Caused Price Depression Through Allegedly Below-
                Market Bids Is Nonsensical and Unsupported by
                Record Evidence

                a.    The Commission Has Failed to Address Plaintiffs’
                      Argument That Its “Phantom Underselling”
                      Theory Is Nonsensical and Illogical

     Plaintiffs explained in their Case Brief the essential contradiction

at the heart of the Commission’s “phantom underselling” theory.

PlBr.16. The Commission places great weight – unreasonable weight,

as explained below – on email correspondence and testimony that

purports to prove that Respondents were making offers at below-market

prices that the domestic industry was then obligated to meet, or lose the

sale, thus causing price depression. But why were Respondents

making bids at below-market prices at the same time that they

were making actual sales at above-market prices, as evidenced

by the price comparison data? Furthermore, if price is such an

important factor in the purchasing decision, why were

purchasers making actual purchases from these Respondents at

above-market prices, and [

    ], when below-market offers from these same Respondents

were also available?
                                   6
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 12 of 42




     Neither the Commission’s Views nor Defendant’s Rebuttal Brief

offer any answer to these critical questions. The best Defendant can

muster is to speculate, without actual data, that the quarters with

smaller margins of overselling might mask sales by Respondents at

prices below those of the domestic industry. Views at Appx02105,

n.143. But as this Court has held, “{g}uesswork is no substitute for

substantial evidence in justifying decisions.” China Nat'l Arts & Crafts

Imp. & Exp. Corp. v. United States, 15 C.I.T. 417, 424 (1991); see also

China Nat'l Mach. Imp. & Exp. Corp. v. United States, 27 C.I.T. 255,

268 (2003) (“Conjectures are not facts and cannot constitute substantial

evidence.”)

     The failure to offer a reasonable answer to these basic yet critical

questions is fatal to the Commission’s finding of “phantom

underselling.” If no reasonable answer can be provided to explain how

these seemingly contradictory facts can be reconciled, then it should

have been impossible for the Commission to reach its determination of

price depression, and it should be equally impossible for this Court to

sustain it. As the Federal Circuit has held, “substantial evidence…can

be translated to roughly mean ‘is {the determination} unreasonable?’”
                                    7
      Case 1:21-cv-00562-MMB Document 40          Filed 08/12/22   Page 13 of 42




Nippon Steel Corp. v. United States, 458 F.3d 1345, 1352 (Fed. Cir.

2006) (citing SSIH Equipment SA v. United States ITC, 718 F.2d 365,

381 (Fed. Cir. 1983)) (alteration in original). A fundamentally illogical

determination is necessarily unreasonable, and cannot be sustained.

                    b.    The Record Lacks the Evidence that Would Be
                          Consistent with a Finding of “Phantom
                          Underselling”

      The Commission relied heavily on email communication of

dubious probative value to support its determination of price

depression, and the flaws in that analysis are discussed in Section

II(A)(3)(b) below. But even assuming, arguendo, that the Commission’s

theory of “phantom underselling” were correct, the record should

naturally contain other evidence consistent with this pricing dynamic.

The lack of this evidence, and the Commission’s failure to explain why

this evidence does not exist, is equally fatal to the Commission’s price

depression determination.3



3Defendant distorts Plaintiffs’ position, suggesting that Plaintiffs argue that a price
depression determination cannot be made without certain types of information on
the record. DfBr.33-34. Plaintiffs are not arguing that, as a general matter, a price
depression determination cannot be made without such evidence. Rather, Plaintiffs
argue that given the specific finding made by the Commission, certain other
evidence would necessarily and logically appear on the record, and its absence
undermines the Commission’s conclusion in this case.
                                          8
      Case 1:21-cv-00562-MMB Document 40         Filed 08/12/22   Page 14 of 42
                                                                        PUBLIC VERSION


      First, the record contains virtually no evidence of lost revenues,

which should be rampant if the market dynamics were as the

Commission describes them. Petitioner itself recognized that lost

revenues were not present on the record, and had no explanation for

their absence. See PlBr.17, n.5. Throughout its Rebuttal Brief,

Defendant points to the fact that two purchasers reported that the

domestic industry was required to reduce its prices in the face of import

competition. DfBr.37-38, 45. But in so doing, the Commission fails to

mention that 25 purchasers reported either that the domestic industry

did not reduce its prices, or had no knowledge of such a reduction.4

Why the Commission relies so heavily on the views of these two

purchasers without crediting the far larger number of purchasers who

reported to the contrary is wholly unexplained. USX Corp. v. United

States, 11 C.I.T. 82, 84 (1987) (The “ITC may not rely upon isolated

tidbits of data which suggest a result contrary to the clear weight of the

evidence.”)




4PlBr.17. Plaintiffs also noted for the Commission that these two purchasers
accounted for only a trivial [           ] of total reported purchases of methionine
during the POI. Plaintiffs’ Post-Hearing Brief, Annex III at Appx07685.
                                          9
      Case 1:21-cv-00562-MMB Document 40         Filed 08/12/22   Page 15 of 42
                                                                        PUBLIC VERSION


      Second, Petitioner alleged that it had lost sales volumes to

respondents under “meet-or-release” clauses under long-term contracts.

In order to invoke these “meet-or-release” clauses, [

                                                                                       ]

PlBr.18. Petitioner agreed that it would submit such evidence on the

record, yet failed to do so, leading the Commission to state both in its

Views and in the Rebuttal Brief that it had no “direct” evidence that

these meet-or-release clauses had ever been exercised. Views at

Appx02108; DfBr.36.

      The best that Defendant could muster in its Rebuttal Brief is to

speculate that because competing bids were typically shown in person,

the COVID pandemic may have changed the process to a phone call,

thus apparently reducing the likelihood of documentation. DfBr.40, n.9.

Even allowing this post hoc rationalization to stand,5 this does not

explain why Petitioner was unable to provide any documentation of bids

reviewed in person under “meet-or-release” clauses from the beginning




5See U.H.F.C. Co. v. United States, 916 F.2d 689, 700 (Fed. Cir. 1990) (“Post hoc
rationalizations of agency actions first advocated by counsel in court may not serve
as the basis for sustaining the agency's determination.”)
                                         10
        Case 1:21-cv-00562-MMB Document 40        Filed 08/12/22    Page 16 of 42
                                                                          PUBLIC VERSION


of the POI in January 2018 to the beginning of the COVID pandemic in

March 2020, or why Petitioner was unable to produce internal

documentation noting the results of such telephone calls after March

2020. While Petitioner submitted documentation regarding its normal

commercial negotiations (including those after March 2020), it was

unable to provide any evidence that these specific “meet-or-release”

clauses had been activated, notwithstanding its promise to do so.

Again, given the market dynamics upon which the Commission’s price

depression determination rests, this documentation should have been

easy to provide, and its absence further undermines the Commission’s

“phantom underselling” claim.

         And finally, if this theory were true, the margins of overselling

would naturally narrow over the POI as the gap between the bids for

subject imports and the price for subject imports also narrowed. But in

fact, [                                                                             ].6

Under the Commission’s holding, this necessarily means that [




6   Plaintiffs’ Post-Hearing Brief, Annex III at Appx07689-07690.
                                          11
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 17 of 42
                                                                  PUBLIC VERSION


      ]. Like the entirety of the Commission’s “phantom underselling”

argument, this makes no sense, and is equally unaddressed by the

Commission.

     The unavoidable conclusion is that this core holding simply does

not satisfy the standard of review this Court must apply. The

substantial evidence standard requires more than the presence of some

record evidence supporting the Commission’s determination. Rather,

the substantial evidence standard requires “{a} reviewing court {to}

consider the record as a whole, including that which ‘fairly detracts

from its weight’, to determine whether there exists ‘such relevant

evidence as a reasonable mind might accept as adequate to support a

conclusion.’” Nippon Steel Corp. v. United States, 458 F.3d 1345, 1351

(Fed. Cir. 2006) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229

(1938)) (emphasis added). In other words, “{n}ot addressing the

conflicting evidence on the record fails the substantial evidence test

because it does not consider record evidence contrary to Commerce's

determination.” New Am. Keg v. United States, No. 20-00008, 2021 Ct.

Intl. Trade LEXIS 34, at *34 (2021) (quoting Camau Frozen Seafood

Processing Imp. Exp. Corp. v. United States, 37 C.I.T. 1116, 1121,
                                    12
      Case 1:21-cv-00562-MMB Document 40          Filed 08/12/22   Page 18 of 42




(2013)). In reviewing the Commission’s price depression finding, this

Court should assess whether the finding is reasonable and factually

supported in light of the record evidence as a whole, including the fact

that evidence that should appear simply does not.7 If not, the

Commission’s finding is not supported by substantial evidence.


             3.     The Commission’s Decision to Elevate Anecdotal Data
                    Over Actual, Verified Pricing Information for Purposes
                    of Making Its Price Effects Determination Remains
                    Unjustified and Unexplained

      In reaching its conclusion that subject imports had depressed

prices for the domestic like product, the Commission relied heavily if

not exclusively on circumstantial and anecdotal8 evidence of these

supposed price effects. The Commission’s main sources of evidence

were correspondence between Petitioner and its customers, hearing




7 Additionally, the Court should assess whether the Commission equally failed to
consider the alternative causes of price declines, including the global decline in
methionine prices and declines in raw material costs. See PlBr.27-32 (discussing
the impact of global price declines); id. at 27, n. 10 (highlighting decline in input
costs).
8 By referring to evidence such as lost sales and email correspondence as

“anecdotal,” Plaintiffs mean that this information is less probative than quarterly
pricing information which was subject to verification by Commission staff. See
Verification Report at Appx01626-01636. Contrary to Defendant’s suggestion,
DfBr.45, Plaintiffs are not suggesting that this evidence was fraudulent or
inauthentic.
                                          13
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 19 of 42




testimony from Petitioner’s witnesses, survey responses from the

Commission’s questionnaires, and allegations of lost sales. In relying

on this evidence, the Commission inexplicably rejected price comparison

evidence that demonstrated overwhelming overselling by subject

imports during the POI.

     The Commission predictably justifies its decision to rely on this

evidence on the grounds that each investigation is “sui generis,” and

that the Commission has “broad discretion” in selecting its pricing

methodology. DfBr.30 (citing Hitachi Metals v. United States, 949 F.3d

710, 718 (Fed. Circ. 2020)). Defendant further mischaracterizes

Plaintiffs’ arguments on this point as an “invitation {for the court} to

reweigh the evidence.” DfBr.33. In so doing, Defendant misses the

mark. This is not an issue left wholly to agency discretion, nor is it a

question of reweighing the evidence. The issue before the Court is

whether the Commission acted contrary to precedent in rejecting more

probative price comparison data, and whether the Commission failed to

provide a reasoned basis for its decision to do so.


                 a.    Both This Court and the Commission Have
                       Consistently Expressed A Preference for the Use

                                    14
        Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 20 of 42




                         of Price Comparison Data for Determining
                         Adverse Price Effects

        In AK Steel, which was cited extensively in Plaintiffs’ Case Brief –

but was almost unmentioned by Defendant – the Court upheld the

Commission’s decision to reject information that was less probative

than the price comparison data, and concluded that “the Commission

acted reasonably in deciding to weigh verifiable transaction prices from

the period of review more heavily than evidence of offer prices with

limited source citations compiled by an interested party.” PlBr.25-26

(citing AK Steel Corp. v. United States, 36 C.I.T. 1466 (2012)). In

addition to AK Steel, Plaintiffs cited to numerous determinations in

which the agency expressed a preference for the use of quarterly pricing

data in making a price effects determination;9 precisely none of these

precedents were addressed in Defendant’s Rebuttal Brief.

        Neither in its Views or its Rebuttal Brief does Defendant provide

any reason for ignoring these specific quarterly pricing data. There has

never been any suggestion that the pricing data were flawed or




9   PlBr.43-45.
                                      15
      Case 1:21-cv-00562-MMB Document 40         Filed 08/12/22   Page 21 of 42
                                                                        PUBLIC VERSION


inaccurate;10 the domestic industry’s pricing data were subject to

verification by the Commission staff;11 and the volume of sales reported

for price comparison purposes [

                        ]12 Nevertheless, in response to Plaintiffs’

repeated arguments that the Commission rely on these price

comparison data in making its determination of price effects, the

Commission concluded that “while the pricing product data show{}

predominant overselling, these data are not the only information in the

record concerning relative prices of the domestic like product and the

subject imports,” Views at Appx02112, without providing a reasoned

basis for its decision to place greater weight on one type of information

than the other.

      Defendant attempts to justify this decision by citing to four

determinations in which the agency allegedly used similar types of

evidence to make a finding of price effects where, as here, the price

comparison data reflected overselling. DfBr.30-31, n.7. But in two of

the determinations cited by Defendant, the price comparison data in


10 PlBr.15, n.4.
11 See Verification Report at Appx01626-01636.
12 Final Staff Report at Appx01715.

                                       16
      Case 1:21-cv-00562-MMB Document 40        Filed 08/12/22   Page 22 of 42




fact showed significant underselling, not overselling (meaning that the

anecdotal evidence was supportive of and consistent with the price

comparison data),13 and in the other two, anecdotal evidence was relied

upon because the price comparison data were flawed or incomplete. 14

These cases do not undermine in any way the basic principle that the

type of evidence upon which the Commission exclusively relied to make

its price depression determination has been consistently disfavored

where, as here, accurate and complete price comparison data were

available.

      The same is true, and perhaps to an even greater degree, with

respect to the lost sales information upon which the Commission



13 Forged Steel Fittings from India and Korea, Inv. Nos. 701-TA-631 and 731-TA-
1463-1464 (Final), USITC Pub. 5137, at 28–31 (Nov. 2020) (There was increasing
and substantial underselling in the latter part of the POI, and this price comparison
data was consistent with other evidence such as responses to purchaser
questionnaires.); Certain Steel Nails from China, Inv. No. 731-TA-1114 (Final),
USITC Pub. 4022, at 17–20 (July 2008) (Price comparison data showed underselling
in 41 of 84 quarterly comparisons).
14 Metal Lockers from China, Inv. Nos. 701-TA-656 and 731-TA-1533 (Final), USITC

Pub. 5218, at 27–33 (Aug. 2021) (The Commission “determine{d} that the quarterly
price comparisons based on the pricing product data collected in the final phase of
these investigations are not a reliable measure of the relative prices of subject
imports and domestic product.”); Strontium Chromate from Austria and France,
Inv. Nos. 731-TA-1422 and 731-TA-1423 (Final), USITC Pub. 4992, at 25–28 (Nov.
2019) (Although redactions for BPI make it difficult to discern clearly, the language
of the public report suggests that the quarterly price comparison data did not
receive sufficient coverage to warrant its usual evidentiary weight.).
                                         17
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 23 of 42




extensively relies. Plaintiffs provided ample judicial precedent

supporting the basic principle that the Commission uses lost sales

allegations to corroborate other pricing data on the record, or where

other pricing data (such as quarterly pricing data) are flawed or

unavailable, and not as the basis for a price effects determination on its

own or in conflict with the quarterly pricing data. PlBr.37-38.

Defendant attempts to distinguish this precedent to no avail, as

Plaintiffs have accurately and fairly characterized the court’s holdings

in these cases:

         Defendant cherry-picks a quote from Celanese Chems. Ltd.
          v. United States, 31 C.I.T. 279, 300 (2007) that actually
          refers to the Commission’s holding in a determination not
          under review. In the determination underlying the appeal,
          the Commission found that the price comparison data
          showed mixed underselling and overselling, with overselling
          occurring in the more recent portion of the POI, and rejected
          lost sales evidence that contradicted the price comparison
          data.

         In Comm. for Fair Beam Imps. v. United States, 27 C.I.T.
          932, 955 (2003), the Court affirmed the Commission’s
          decision to reject lost sales evidence because it was contrary
          to the price comparison data showing predominant
          overselling, which is the point for which Plaintiffs cited the
          case.

         Defendant selectively quotes from Lone Star Steel Co. v.
          United States, 10 C.I.T. 731, 734 (1986), suggesting that the
                                    18
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 24 of 42




           Commission has the discretion “to determine whether lost
           sales, together with other factors, indicate a causal nexus
           between … imports and material injury to the domestic
           industry”. DfBr.32. The full quotes states as follows: “The
           court has indicated on other occasions that instances of lost
           sales alone do not mandate a finding of injury; rather it is for
           ITC to determine whether lost sales, together with other
           factors, indicate a causal nexus between LTFV imports and
           material injury to the domestic industry.” Lone Star Steel
           Co., 10 C.I.T. at 734 (emphasis added). Furthermore, this
           case provides an example where the Commission did not
           accord weight to evidence of lost sales that was incongruent
           with the price comparison data. In the determination
           underlying this appeal, the Commission found that the
           underselling margins were decreasing later in the POI, and
           the lost sales evidence was not sufficient to overcome this
           evidence. Id. at 733.

         In Iwatsu Elec. Co., Ltd. v. United States, 15 C.I.T. 44, 53-55
          (1991), the Commission found that the price comparison data
          were not reliable because price comparisons between subject
          imports and domestic product were “problematic.” Id. Thus,
          consistent with Plaintiffs’ point, the Commission had leeway
          to place greater weight on lost sales evidence as a basis for
          adverse price effects. In the instant case, no such defect was
          found with respect to the pricing data.


     The instant case provides a perfect example of why the agency and

its reviewing courts have taken this position. Plaintiffs’ Case Brief

closely analyzes the correspondence submitted by Petitioner with its

post-hearing brief, and demonstrates that it is missing key elements,

such as direct evidence of foreign producer price quotations and the

                                    19
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 25 of 42




identity of suppliers making price offers, and further demonstrates that

many of the Commission’s characterizations of this correspondence

were unsupportable. PlBr.20-25. Defendant attempts to rehabilitate

the Commission’s conclusion by offering its own more detailed post hoc

analysis of the same documentation. DfBr.39-44. While Plaintiffs

believe that Defendant’s analysis is wrong in several respects, this

conflict is precisely the point: informal commercial communication that

is capable of conflicting subjective interpretations is inherently less

reliable than verified and objective quarterly price comparison data.

This is why the both the Commission and its reviewing courts have

consistently held that quarterly price comparison data, provided that it

is accurate and complete, is a preferred basis for making a price effects

determination.


                 b.    The Commission Failed to Explain Why It Relied
                       upon Anecdotal Data Over the Verified Pricing
                       Data on the Record

     Even if the Commission had the discretion to use anecdotal

evidence over quarterly pricing data in making its price effects

determination, the Commission failed to explain why it made the choice

it did. In its Views, the Commission states that “while the pricing
                                   20
      Case 1:21-cv-00562-MMB Document 40        Filed 08/12/22   Page 26 of 42




product data show{} predominant overselling, these data are not the

only information in the record concerning relative prices of the domestic

like product and the subject imports,” Views at Appx02112, but offered

no further explanation for its choice of one over the other. The

Commission similarly concedes that “the pricing data indicate

predominant overselling by cumulated subject imports,” but instead

relies without justification or explanation on the fact that “the record

indicates that purchasers were offered lower-priced imports in

particular transactions . . .” Views at Appx02106.

      Defendant’s Rebuttal Brief offers no support to the Commission’s

decision to select certain information for purposes of its decision. In

defending the use of this evidence, the Commission states that it

“recognized that the pricing data indicated predominant overselling, but

reasonably attached weight to other evidence, including confirmed lost

sales, showing that subject imports had adverse price effects.”15 The

paragraph in Defendant’s Rebuttal brief ends there, with no further



15DfBr.31. Defendant’s Rebuttal Brief uses this same phase, “reasonably attached
weight”, to justify the use of other anecdotal data such as business documents and
hearing testimony, also without explaining why this information was preferred.
DfBr.39.
                                        21
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 27 of 42




explanation why the agency’s decision to “attach{} weight” to one type of

information over the other was reasonable. Even if the Commission has

the authority to select one type of information over the other, its Views

fail to explain why that choice was made in a manner that would allow

this court to understand the path of the agency’s reasoning. See Motor

Vehicle Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983) (“{T}he agency must examine the relevant data and articulate a

satisfactory explanation for its action including a ‘rational connection

between the facts found and the choice made.’”) (quoting Burlington

Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962)).


                 c.    The Commission Failed to Explain Why Its
                       Analysis of Lost Sales Volumes Was Reasonable

     Just as the Commission failed to explain why it selected one type

of evidence over another in making its price effects determination, so

too did the Commission fail to explain its conclusion that the volume of

lost sales was substantial.

     First, the Commission failed to explain its determination that the

volume of lost sales was “substantial.” PlBr.32-37. During the

investigation, Plaintiffs offered several approaches to assessing the

                                    22
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 28 of 42




significance of the alleged lost sales volume, including by reference to

total U.S. consumption. The Commission ignored all of these

approaches and instead measured the volume of lost sales relative to

the increase in annual subject imports from 2018 to 2020. In its Case

Brief, Plaintiffs illustrated why this approach was unreasonable, and

concluded by noting that the Commission had failed to explain “why it

chose this comparison over one of the more appropriate comparisons

raised by Plaintiffs during the investigation.” PlBr.36.

     In its Rebuttal Brief, rather than explain the reasons for selecting

the reasons for its particular analysis, Defendant instead defended its

methodology as “reasonable,” but again offered no basis for selecting

this particular approach as opposed to other available approaches. See

DfBr.29. The best that Defendant could offer was to say that “{t}he

Commission’s comparison of lost sales to the increase in subject import

volume over the POI was also reasonable because it shows that the

volume of lost sales was large relative to the increase in subject import

volume,” DfBr.30, which is a meaningless tautology. Particularly since

the Commission has used other measures in past cases to assess the

significance of the lost sales volume, the Commission’s failure to explain
                                    23
     Case 1:21-cv-00562-MMB Document 40     Filed 08/12/22   Page 29 of 42
                                                                   PUBLIC VERSION


why it analyzed the volume of lost sales in this case in this manner

undermines its determination. See Asociacion Colombiana de

Exportadores de Flores v. United States, 12 C.I.T. 1174, 1177 (1988),

aff'd, 26 F.3d 139 (Fed. Cir. 1994) (“In order to ascertain whether action

is arbitrary, or otherwise not in accordance with law, reasons for the

choices made among various potentially acceptable alternatives usually

need to be explained.”).

     Second, Plaintiffs identified two main flaws with the volume of

lost sales upon which the Commission relied, the second of which was

that the purchaser accounting for the vast majority of this lost sales

volume in fact [

                           ], from [              ] in 2018 to [

        ] in 2020. PlBr.34, n.13. Plaintiffs raised this issue before the

agency and also in their Case Brief, but to date, the Commission has

failed to explain how the domestic industry could have “lost” sales when

[



                                  ] Here too, the Commission’s failure to

explain its determination, and its continued ignoring of contrary record
                                       24
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 30 of 42




evidence, undermines an important basis for its conclusion. See New

Am. Keg v. United States, No. 20-00008, 2021 Ct. Intl. Trade LEXIS 34,

at *48 (2021) (“The agency must offer an explanation of the decision

that is clear enough to enable judicial review, and cannot leave vital

questions, raised by comments which are of cogent materiality,

completely unanswered.”) (quoting Motor Veh. Mfrs. Ass'n, 463 U.S. 43

(1983)).


              4.   The Commission Failed to Make a Finding of
                   Underselling

     The Commission is required by statute and by judicial precedent

to make a finding whether there was significant underselling by subject

imports during the POI, which a majority of Commissioners failed to do.

PlBr.39-41. In its Rebuttal Brief, Defendant asserted that “{t}he

Commission was not required to make an express finding concerning

the significance of underselling,” arguing that the agency need only

“consider” whether underselling had occurred. DfBr.23. However, the

cases that the Commission cites to support this proposition are

inapposite.




                                    25
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 31 of 42




     First, the Commission mischaracterized the Federal Circuit’s

holding in Nucor Corp. v. United States, 414 F.3d 1331 (Fed. Cir. 2005).

In that case, the Court found that the Commission had upheld its legal

obligation to make a finding on the significance of underselling because,

although it did not make an explicit statement as to its finding, it

unmistakably made an implicit finding of insignificant underselling.

See PlBr.41, n. 16. Specifically, the Court in Nucor explained that

     {i}t is true, as Nucor contends, that the Commission did not
     state in so many words that the volume of underselling was
     an insignificant factor in evaluating whether the effect of
     imports on prices had led to present material injury to the
     domestic industry. Nonetheless, the trial court found that to
     be the plain import of the Commission's analysis, and we
     agree.

Nucor, 414 F.3d at 1339. Therefore, contrary to Defendant’s assertion,

the more accurate characterization of the Court’s holding in Nucor is

that the Commission has an obligation to make a finding, either explicit

or implicit, whether significant underselling had occurred. In the

instant case, the Commission did neither. The Commission’s position in

its Rebuttal Brief should also be taken as a concession that, in fact, no

conclusion on significant underselling was implicitly reached in its

Views.

                                    26
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 32 of 42




     The Commission’s characterization of the Federal Circuit’s

holding in Altx, Inc. v. United States, 370 F.3d 1108 (Fed. Cir. 2004) is

also misleading. See DfBr.24. The specific portion of the Altx opinion

cited by the Commission deals with an entirely different issue –

specifically, the obligation for the Commission to consider the

magnitude of dumping under 19 U.S.C 1671(7)(C)(iii)(V) – and not the

meaning of the Commission’s obligation to “consider” whether there has

been significant underselling in the context 19 U.S.C. § 1677(7)(C)(ii).

     Indeed, the Federal Circuit, in its discussion of 19 U.S.C. §

1677(7)(C)(ii), subsequently stated: “In Altx, Inc. v. United States, 167

F. Supp. 2d 1353, 1365 (Ct. Int’l Trade 2001), aff’d, 370 F.3d 1108 (Fed.

Cir. 2004), the {CIT} held that the Commission was required to make

two distinct determinations, one for each prong of {19 U.S.C. §}

1677(7)(C)(ii).” Nucor, 414 F.3d at 1340. The Nucor Court then went

on to make its holding regarding the Commission’s statutory obligation

to reach a conclusion regarding the significance of underselling, as

discussed above. This demonstrates that the Federal Circuit agreed

with the CIT’s holding in Altx, Inc. v. United States, 25 C.I.T. 1100



                                    27
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 33 of 42




(2001) that the Commission must make a distinct determination both as

to significant underselling and as to price depression/suppression.

     Third, Rhone Poulenc S.A. v. United States, 8 C.I.T. 47 (1984)

should provide no support for the Commission’s decision in this case. In

the portion of Rhone Poulenc cited by the Commission, the Court’s

holding was that “{a}lthough the concise expression of such a{n}

{underselling} finding is preferable, we are reluctant to require the ITC

to state its position with technical exactitude in this developing area of

the law . . .” Id. at 55 (emphasis added). As Rhone Poulenc was decided

in 1983, nearly 40 years ago, Plaintiffs submit that this area of the law

can no longer be considered “developing.” Instead, more recent case law

requiring the Commission to make a finding of underselling is a better

guide for this agency’s statutory obligations.

     Finally, the Commission’s reliance on the term “consider” in 19

U.S.C. § 1677(7)(C)(ii) as allowing the agency to avoid making a specific

finding of underselling proves too much. Under the structure of this

statutory provision, the term “consider” applies both to underselling

and price suppression/depression. 19 U.S.C. § 1677(7)(C)(ii). Indeed, 19

U.S.C. § 1677(7)(B)(i) states that in making a material injury
                                    28
      Case 1:21-cv-00562-MMB Document 40        Filed 08/12/22   Page 34 of 42




determination, the Commission must “consider” volume, price effects

and the impact of subject imports on the domestic industry. 19 U.S.C. §

1677(7)(B)(i). Taken to its extreme, the Commission’s interpretation of

“consider” would eliminate the agency’s obligation to make any specific

findings whatsoever as part of its material injury determination. This

clearly cannot be Congress’s intent and also has not been the agency’s

consistent practice.

      In sum, the caselaw cited by Defendant in its Rebuttal Brief does

not, in fact, support its contention that the Commission was not obliged

to make a finding on significant underselling. Because the Commission

failed to satisfy its statutory duty in the instant case, its determination

was not in accordance with law.

      B.    The Commission’s Determination that Subject
            Imports Adversely Impacted the Condition of the
            Domestic Industry Was Not in Accordance with Law
            and Was Not Supported by Substantial Evidence16



16 Defendant argues that Plaintiffs’ arguments that the increase in the volume of
subject imports was not “significant” are misplaced, because the Commission is not
required to consider contextual factors in making a determination of the
“significance” of the volume of subject imports under 19 U.S.C. § 1677(7)(C)(i).
DfBr.20. Accordingly, Defendant addressed the substance of Plaintiffs’ volume
arguments in the impact section. Without conceding the point, Plaintiffs respond to
Defendant’s arguments regarding volume in the context of impact on the domestic
industry as well.
                                        29
     Case 1:21-cv-00562-MMB Document 40      Filed 08/12/22   Page 35 of 42
                                                                    PUBLIC VERSION


           1.    The Commission Failed to Consider the Importance of
                 Supplier Diversity in Assessing the Impact of Subject
                 Imports on the Domestic Industry

     The Commission’s core conclusion with respect to subject import

volume and market share is that “{d}omestic producers could reasonably

have expected to gain market share following the exit of these {Chinese}

imports from the U.S. market{.}” Views at Appx02117. The domestic

industry’s failure to gain market share, notwithstanding [

                            ], was critical to its material injury

determination.

     But as Plaintiffs explained in their Case Brief, the Commission’s

holding relies heavily on an assumption that the domestic industry’s

inability to gain market share occurred because it was being

consistently undersold by subject imports. This aspect of the

Commission’s assumption is of course undercut by the consistent [

         ] overselling observed during the POI. But perhaps more

critically, this conclusion fails to take into account the significance of

non-price considerations – most critically, the importance of supplier

diversity and reliability of supply – in purchasers’ decision-making, as

required by Nippon. As a consequence, the Commission’s assumption

                                     30
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 36 of 42




regarding the reasonable expectation for the domestic industry’s growth

in market share is not just unsupported, it is contradicted by record

evidence.

     Defendant contends that “there was no evidence on the record that

the importance of supplier diversity had increased over the period of

investigation so as to motivate purchasers to increase their purchases of

subject imports at the domestic industry’s expense.” DfBr.54. Yet the

importance of supplier diversity does not need to have changed over the

POI to explain the increase in subject import market share, especially

when consumption was increasing, and Defendant provides no

explanation of why this should be the case. On the contrary, in a

market environment where demand is growing and there is only one

domestic producer for each type of methionine, one would expect that

purchasers would seek to obtain relatively more of their supply from

subject imports. This is because when consumption is growing, in order

for the domestic industry to keep its market share constant (let alone

increase it), purchasers must increase the volume of methionine they

are procuring from the domestic industry. In light of this dynamic and

the unquestioned importance of supplier diversity to purchasers, it is no
                                   31
         Case 1:21-cv-00562-MMB Document 40        Filed 08/12/22   Page 37 of 42
                                                                           PUBLIC VERSION


wonder that domestic industry’s market share declined somewhat [

                                                                     ],17 as

purchasers rebalanced their supplier mix to ensure availability of

supply.

          Defendant also notes that “as the domestic industry lost market

share to subject imports during the POI, the domestic industry’s excess

capacity increased, including excess capacity to produce the specific

type of methionine, MHA, that accounted for a majority of nonsubject

imports from China.” DfBr.55. Defendant acknowledged Plaintiffs’

previously-made point that purchasers seeking diversity of supply

would not seek to purchase more from Novus, which already supplied

[             ] of the MHA to the U.S. market over the POI. DfBr.55, n. 14.

Yet Defendant dismisses this point as invalid because Novus supplied

[                                         ] in 2018 and [

                                                                    ] Id. But the

Commission fails to explain why purchasers seeking diversity of supply

would maintain the exact proportion of purchases from Novus relative




17   See Final Staff Report at Appx01685 (Table III-5).
                                           32
      Case 1:21-cv-00562-MMB Document 40          Filed 08/12/22   Page 38 of 42
                                                                         PUBLIC VERSION


to imports – particularly when demand for MHA was growing, and

where there was evidence that [

                      ].18 Such domestic industry supply constraints create

an even greater impetus for purchasers to ensure availability by

purchasing subject imports.19

      The critical importance of supplier diversity provides a far simpler

and more compelling explanation for the pricing and volume data on the

record: purchasers were willing to pay a premium for subject imports

throughout the POI because of their well-documented need for a

diversity of supply, particularly in the face of an unreliable domestic

supplier.

             2.     The Commission Failed to Consider the Limited
                    Substitutability Between Different Chemical
                    Compositions of Methionine in Assessing the Impact of
                    Subject Imports on the Domestic Industry




18 See PlBr.57 (noting that “{h}alf of responding purchasers (10 of 20) reported
supply constraints” and that “5 of 20 – or 25 percent – of U.S. purchasers reported
being placed on allocation from U.S. importers and producers.”); id. at 61 (text & n.
24) (noting [                                                                        ]
and record evidence of [                                                    ].).
19 “{Novus} ha{s} no objection to somebody’s preference on having two suppliers of

{MHA}, one of them needing to be imported.” Tr. at Appx11053 (Galo) (emphasis
added).
                                          33
     Case 1:21-cv-00562-MMB Document 40   Filed 08/12/22   Page 39 of 42




     The limited substitutability of the different types of methionine –

MHA and DLM – heightens the importance of supplier diversity for

purchasers and significantly limited the extent to which the domestic

industry could have “reasonably expected” to gain market share during

the POI. The issues posed by the limited substitutability of MHA and

DLM are further exacerbated by the structure of the domestic

methionine industry – wherein there is only one domestic producer for

each type of methionine. In its Rebuttal Brief, Defendant attempts to

respond to this argument in two ways.

     First, the Commission contended that its analysis was in

accordance with law because the Commission is required to examine

whether the domestic industry “as a whole” has been materially injured

by subject imports. DfBr.56-57. This may be true, but this argument

misses the mark. Plaintiffs’ point is not that only a segment of the

domestic industry was materially injured. Rather, Plaintiffs’ argument

is that the two chemical configurations of the subject merchandise (i.e.,

DLM and MHA) have different market dynamics that serve to limit




                                   34
     Case 1:21-cv-00562-MMB Document 40       Filed 08/12/22   Page 40 of 42
                                                                     PUBLIC VERSION


substitutability, segment the market, and attenuate competition.20

Therefore, Plaintiffs submit that it is logical for the Commission to

examine the respective segments of the industry in order to accurately

determine whether the domestic industry as a whole has been injured.

      Second, Defendant noted that “13 of 22 {purchasers} reported that

they could switch between MHA and DLM.” DfBr.58. However, just

because DLM and MHA are interchangeable in theory does not

eliminate the fact that there are costs associated with switching

between product forms, and that there is only one domestic supplier of

each form. Moreover, when purchasers regard supplier diversity as

important (which the Commission acknowledges), it necessarily means

that imports are required. While the Commission recognized all of

these factors separately, it did not link them together as part of its

impact analysis. In neither its Views nor its Rebuttal Brief does the

Commission address the contrary evidence and arguments regarding

the limited practical substitutability of MHA and DLM and its effect on



 See PlBr.56 (noting that net subject import growth was most pronounced for
20

DLM, and that [

                                        ].)
                                       35
     Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 41 of 42




injury attribution. Accordingly, like the Commission’s other findings

detailed herein, the Commission’s determination that subject imports

adversely impacted the domestic industry is unsupported by substantial

evidence and not in accordance with law.


                                          Respectfully submitted,


                                             /s/ Eric C. Emerson
                                          Eric C. Emerson
                                          Christopher Forsgren
                                          Steptoe & Johnson LLP
                                          1330 Connecticut Avenue, N.W.
                                          Washington, D.C. 20036
                                          (202) 429-8076

                                          Counsel for Adisseo Espana S.A.
                                          and Adisseo USA, Inc.

Dated: August 12, 2022




                                   36
         Case 1:21-cv-00562-MMB Document 40    Filed 08/12/22   Page 42 of 42




    CERTIFICATION PURSUANT TO STANDARD CHAMBER
                    PROCEDURES


         Pursuant to Standard Chamber Procedure 2(B)(2), I, Eric C.

Emerson, certify the foregoing Reply Brief in Support of Rule 56.2

Motion for Judgment on the Agency Record, filed by Plaintiffs Adisseo

Espana S.A. and Adisseo USA Inc., complies with the word count

limitations of Standard Chamber Procedure 2(B)(1). This brief was

prepared in Century Schoolbook 14-point type, and contains 6,980

words, excluding the parts of the brief exempted by Standard Chamber

Procedure 2(B)(1). In making this certification I have relied on the

word count feature of the word-processing software used to prepare the

brief.

                                                 /s/ Eric C. Emerson
                                              Eric C. Emerson
                                              Steptoe & Johnson LLP
                                              1330 Connecticut Avenue, N.W.
                                              Washington, D.C. 20036
                                              (202) 429-8076

                                              Counsel for Adisseo Espana S.A.
                                              and Adisseo USA, Inc.

Dated: August 12, 2022
